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 8 MGA Entertainment, Inc.

 9                       UNITED STATES DISTRICT COURT
10                     CENTRAL DISTRICT OF CALIFORNIA
11
   MGA ENTERTAINMENT, INC., a                      Case No. 2:18-cv-10758
12 California corporation
                                                   COMPLAINT FOR:
13
                              Plaintiff,
14                                                 1. DECLARATORY JUDGMENT
                         v.
15                                                 DEMAND FOR JURY TRIAL
16
   LOUIS VUITTON MALLETIER, S.A., a
17
   French société anonyme; and DOES 1
18 through 10, inclusive.

19
                       Defendants.
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                                           Complaint
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 1         Plaintiff, MGA ENTERTAINMENT, INC. (hereinafter referred to as
 2 “Plaintiff” or “MGA”) for its Complaint herein alleges as follows:

 3                                      INTRODUCTION
 4              1. This action involves a claim for declaratory judgment pursuant to 28
 5 U.S.C. §§ 2201(a) and 2202, to resolve an actual controversy within this Court’s

 6 jurisdiction. Specifically, MGA seeks a declaration that both the name “Pooey

 7 Puitton,” and the associated toy product with which it is used, do not infringe upon or

 8 dilute any of the trademarks or other intellectual property rights of defendant Louis

 9 Vuitton, S.A. (“Louis Vuitton”), is protected fair use, and/or is protected parody.
10                               JURISDICTION AND VENUE
11         2.      This Court has federal subject matter jurisdiction pursuant to 28 U.S.C.
12 §§ 1331 and 1338(a) because it arises under the laws of the United States, specifically

13 a request for declaratory judgment under 28 U.S.C. §§ 2201(a) and 2202, and that

14 concern issues of trademark under the Lanham Act, 15 U.S.C. §§ 1051 et seq.

15         3.      Personal jurisdiction exists over Defendants in this judicial district
16 because Defendants regularly conduct, transact, and/or solicit business in California

17 and in this judicial district, and/or derives substantial revenue from business

18 transactions in California and in this judicial district, and/or otherwise avail

19 themselves of the privileges and protections of the laws of the State of California such
20 that this Court's assertion of jurisdiction over Defendants does not offend traditional

21 notions of fair play and due process, and/or Defendants’ infringing actions caused

22 injury to Plaintiff in California and in this judicial district such that Defendants should

23 reasonably expect such actions to have consequences in California and in this judicial

24 district.

25         4.      Venue is proper, inter alia, pursuant to 28 U.S.C. § 1391(b)(2) because
26 Defendants conduct, transact, and/or solicit business in this judicial district.
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 1                                            PARTIES
            5.     Plaintiff MGA ENTERTAINMENT, INC. (“MGA”) is a California
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     corporation having an address and principal place of business at 16380 Roscoe Blvd,
 3
     Van Nuys, California, 91406.
 4
            6.     Upon information and belief, Defendant LOUIS VUITTON
 5
     MALLETIER, S.A. (“Louis Vuitton”), is a French société anonyme with a principal
 6
     place of business at 2 rue du Pont-Neuf, Paris France F75001, and regular conducts,
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     transacts, and/or solicits business in this judicial district.
 8
            7.     Defendants DOES 1 through 10 are individuals and/or entities whose
 9
     true names and capacities are presently unknown to Plaintiff. At such time as said
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     Defendants’ true names and capacities become known to Plaintiff, Plaintiff will seek
11
     leave to amend this Complaint to insert said true names and capacities of such
12
     individuals and/or entities.
13
            8.     Upon information and belief, at all times relevant herein, Defendants,
14
     including Does 1 through 10, inclusive, and each of them, were and still are the partners,
15
     agents, employers, and/or employees of the other named Defendants, and each of them;
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     that in so doing the things alleged, said Defendants were acting within the course
17
     and scope of said partnership, agency, or employment; and that in so doing the things
18
     alleged, said Defendants were acting at all times with the knowledge, consent, and
19
     authorization of each of the other Defendants.
20
            9.     Upon information and belief, at all times relevant herein, Defendants,
21
     including Does 1 through 10, inclusive, and each of them, are the alter egos of each
22
     other; are characterized by a unity of interest in ownership and control among
23
     themselves such that any individuality and separateness between them have
24
     ceased; are a mere shell instrumentality and conduit through which Defendants
25
     carried on their business by use of each other’s names; completely controlled,
26
     dominated, managed, and operated each other’s business to such an extent that any
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     individuality or separateness of the Defendants does not and did not exist;
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                                             COMPLAINT
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 1 completely failed to observe any corporate formalities; and intermingled the assets of

 2 each other, and other entities affiliated with them, to suit the convenience of

 3 themselves and in order to evade legal obligations and liability.

 4                               STATEMENT OF FACTS
 5                                   MGA and Pooey Puitton
 6        10.    MGA is a leading designer, developer, marketer, and distributor of
 7 innovative children’s toys. MGA promotes and/or sells its products throughout the

 8 U.S. and the world through major retailers, quality toy stores, department stores, and

 9 online marketplaces.
10        11.    MGA’s products include L.O.L. Surprise!, which was awarded Top
11 Selling Toy of the Year in the U.S. for 2017, and currently accounts for seven of the

12 top 10 toys in the United States in 2018, according to N.P.D. Group, a retail tracking

13 service; Bratz dolls, which at the height of their popularity outsold Mattel’s Barbie

14 dolls; and the Little Tikes Cozy Coupe, which was one of the first molded-plastic toy

15 cars sold in the United States.

16        12.    One of MGA’s most successful new toys, launched in 2018, is the
17 POOPSIE SLIME SURPRISE line of products (“Poopsie Products”) directed towards

18 children. Poopsie Products consist primarily of ingredients that consumers can

19 combine to create “magical unicorn poop” slime that can then be stored in a portable
20 container. The “surprise” element of the products is the somewhat randomized nature

21 of the ingredients and the portable container.

22        13.    Pooey Puitton is the name of a product (the “Pooey Name”) used in
23 association with one of the Poopsie Products, a handbag shaped toy container

24 described on MGA’s website as follows (the “Pooey Product”):

25               Make magical unicorn poop (slime) with Poopsie Slime
26               Surprise! With a little unicorn magic and sparkle, you can
27               customize unicorn poop and transform it multiple times! Poopsie
28               Slime Surprise Pooey Puitton purse is the ultimate super slime
                                              4
                                          COMPLAINT
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 1               surprise with over 35+ magic surprises! Magically make scented,
 2               unicorn poop slime in a rainbow of colors! With a little unicorn
 3               magic, sparkle, and crunch, you can customize your unicorn
 4               poop again and again! When you gotta go, store the slime in the
 5               air-tight storage to keep the unicorn poop fresh! Includes:
 6                  • 1 Pooey Puitton purse
 7                  • 12 Unicorn Food packets (slime powder) - just add
 8                     water to make a rainbow of poop!
 9                  • 6 Unicorn Magic packets, 4 Unicorn Sparkle
10                     packets, 2 Unicorn Crunch packets, 4 mystery
11                     scents, and 1 spoon.
12                  • 1 exclusive bottle and 1 exclusive poop character
13                     keychain.
14                  • Instructional booklet and tons of storage to take
15                     your poop on the go!
16        14.    A picture of the outside of the Pooey Product, which most consumers
17 will first encounter when shopping for the product in online or in-store mass retailer

18 toy departments, is shown below:

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 1        15.     A picture of the opened Pooey Product, revealing its inner components,
 2 intended to hold the unicorn poop ingredients, mixing container, and storage cup, is

 3 shown below:

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19              Defendant Louis Vuitton and its Action Against Pooey Puitton
20        16.     Louis Vuitton is a fashion designer of luxury luggage, leather goods,
21 handbags, and accessories, which it markets and sells worldwide.

22         17.    Upon information and belief, on or around December 7, 2018, Louis
23 Vuitton claimed to one of MGA’s customers that the Pooey Name and the Pooey

24 Product infringed upon or diluted one or more Louis Vuitton trademarks, including

25 but not limited to the word mark LOUIS VUITTON (the “LV Word Mark”) and the

26 following design mark (the “LV Design Mark”):
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                                          COMPLAINT
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 6         18.    Upon information and belief, Louis Vuitton owns federal registrations in
 7 the United States for the LV Word Mark and LV Design Mark bearing, respectively,

 8 United States Patent and Trademark Office (“USPTO”) Registration Nos. 1990760

 9 and 4192541.
10
           19.    MGA is further informed and believes, and upon such information and
11
     belief alleges, that Louis Vuitton claims trademark rights, and may own USPTO
12
     federal trademark registrations, in one or more of the design elements contained
13
     within the LV Design Mark (the “LV Design Elements”) (collectively, the LV Word
14
     Mark, LV Design Mark, and LV Design Elements are referred to herein as the “LV
15
     Marks”).
16
      There is No Likelihood of Confusion Between Pooey Puitton and Louis Vuitton
17
            20.   No reasonable consumer would mistake the Pooey Product for a Louis
18
     Vuitton handbag. A side-by-side comparison of the Pooey Product and, upon
19
     information and belief, the subject Louis Vuitton handbag is found below:
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                                         COMPLAINT
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 1        21.    No reasonable consumer would mistake the Pooey Product as being
 2 intended to be used as a handbag. The Pooey Product is not intended to, nor could it

 3 reasonably be used to, serve the primary function of a handbag, which is to contain

 4 and transport everyday items such as a wallet, a makeup kit, or a hairbrush. The

 5 inside of the Pooey Product has multiple storage compartments that are designed

 6 solely for the contents contained therein or other similar Poopsie Products.

 7        22.    The Pooey Product is sold in the toy section of online and through mass
 8 market retailers for the suggested retail price of $59.99.

 9        23.    The Pooey Product is primarily marketed to and intended for use by
10 children.

11        24.    The exterior of the Pooey Product is poop-shaped and made out of
12 hardened plastic, the exterior of which depicts three-dimensional cartoonish facial

13 features such as elongated eyelashes and pouted lips.

14        25.    Upon information and belief, Louis Vuitton handbags are not poop-
15 shaped, are not made out of hardened plastic, and do not depict three-dimensional

16 cartoonish facial features such as elongated eyelashes and pouted lips.

17        26.    Upon information and belief, Louis Vuitton handbags are not
18 manufactured with the sole intention of storing ingredients and materials for the

19 creation of slime or “magical unicorn poop.”
20        27.    Upon information and belief, Louis Vuitton handbags are not sold in the
21 toy section of mass market retailers, nor are they sold online or in-store through such

22 mass market retailers.

23        28.    Upon information and belief, Louis Vuitton handbags are not marketed
24 at the suggested retail price of $59.99.

25        29.    Upon information and belief, Louis Vuitton handbags are not primarily
26 marketed to or intended for use by children.
27        30.    Upon information and belief, Louis Vuitton handbags are designed to
28 primarily function as handbags, e.g. for the storage and transport of everyday items,
                                               8
                                        COMPLAINT
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 1 and reasonable consumers would understand that they are primarily designed for such

 2 use.

 3         31.   Upon information and belief, Louis Vuitton handbags are typically made
 4 out of high-end materials such as leather or crocodile skin.

 5         32.   Upon information and belief, Louis Vuitton handbags are sold by Louis
 6 Vuitton directly through its website, standalone boutiques, or leased spaces in high-

 7 end department stores, and are sold in the handbags, fashion, or accessory sections of

 8 such boutiques or department stores.

 9         33.   Upon information and belief, Louis Vuitton handbags are luxury items
10 that typically retail from thousands to tens of thousands of dollars.

11         34.   Upon information and belief, Louis Vuitton handbags are primarily
12 marketed to and intended to be used by adults.

13         35.   The Pooey Name and the Pooey Product, on the one hand, and the LV
14 Marks and Louis Vuitton handbags, on the other hand, are not used for similar goods

15 and services or in the same classes, but for different goods and services in different

16 classes.

17         36.   The Pooey Name and the Pooey Product, on the one hand, and the LV
18 Marks and Louis Vuitton handbags, on the other hand, are not intended to serve

19 similar functions or similar uses, but rather serve different functions and different
20 uses.

21         37.   The Pooey Name and the Pooey Product, on the one hand, and the LV
22 Marks and Louis Vuitton handbags, on the other hand, are not manufactured using the

23 same or similar materials, but rather are manufactured using material that is of

24 obvious disparate quality.

25         38.   The Pooey Name and the Pooey Product, on the one hand, and the LV
26 Marks and Louis Vuitton handbags, on the other hand, are not marketed, sold, and
27 distributed in similar streams of commerce, but rather are marketed, sold, and

28 distributed through different channels of trade.
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                                        COMPLAINT
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 1        39.    The Pooey Name and the Pooey Product, on the one hand, and the LV
 2 Marks and Louis Vuitton handbags, on the other hand, are not sold at similar price

 3 points; rather, Louis Vuitton handbags are luxury items typically sold at price points

 4 significantly higher than that of the Pooey Product’s suggested retail price of $59.99.

 5        40.    The Pooey Name and the Pooey Product, on the one hand, and the LV
 6 Marks and Louis Vuitton handbags, on the other hand, do not target similar

 7 consumers; rather, Louis Vuitton handbags are primarily directed towards and

 8 intended to be used by adults, while the Pooey Product is primarily directed towards

 9 and intended to be used by children.
10        41.    Based on the foregoing, there is no likelihood of confusion between the
11 Pooey Name and the Pooey Product, on the one hand, and the LV Marks and Louis

12 Vuitton handbags, on the other hand, or that Louis Vuitton sponsored or is associated

13 with the Pooey Name or the Pooey Product.

14                  Pooey Puitton is Protected Fair Use and/or Parody
15        42.    Furthermore, The Pooey Name and Pooey Product are protected fair use
16 and parody as set forth under 15 U.S.C. § 1125(c)(3)(A) and 15 U.S.C. §

17 1125(c)(3)(A)(ii).

18        43.    Louis Vuitton and the LV Marks are associated with expensive, high-
19 end, luxury products that evoke wealth and celebrity, and that are typically worn by
20 adults.

21        44.    The Pooey Name and Pooey Product are designed to mock, criticize, and
22 make fun of that wealth and celebrity and be used by a child. The use of the Pooey

23 Name and Pooey Product in association with a product line of “magical unicorn

24 poop” is intended to criticize or comment upon the rich and famous, the Louis

25 Vuitton name, the LV marks, and on their conspicuous consumption.

26        45.    The Pooey Product is sold alongside similar parodies of other brands
27 under the POOPSIE SLIME SURPRISE product line.

28        46.    Neither the Pooey Product itself, nor any of the element or characteristics
                                             10
                                          COMPLAINT
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 1 of the Pooey Product, are used by MGA as a source identifier. Furthermore, the

 2 Pooey Product contains several distinguishing design elements that, upon information

 3 and belief, are not claimed by Louis Vuitton as a trademark, including question marks

 4 and swirls of poop.

 5         47.   The Pooey Name and Pooey Product convey just enough of the original
 6 LV Marks to allow consumers to appreciate the parody without appropriating the

 7 entire marks. The differences are sufficiently obvious and the parody sufficiently

 8 blatant such that no reasonable consumer encountering the Pooey Name or Pooey

 9 Product would mistake its source or sponsorship as being Louis Vuitton.
10       Louis Vuitton’s History of Vexatious Litigation Against Protected Parody
11         48.   Louis Vuitton has a history of not respecting parody rights in the United
12 States and filing vexatious lawsuits against such protected parody.

13         49.   Such cases include Louis Vuitton Malletier S.A. v. Haute Diggity Dog,
14 507 F.3d 252 (4th Cir., 2007) and Louis Vuitton Malletier, S.A. v. My Other Bag, Inc.,

15 156 F. Supp. 3d 425 (S.D.N.Y. 2016), aff'd, 674 F. App'x 16 (2d Cir. 2016), cert.

16 denied, 138 S. Ct. 221 (2017), both of which it ultimately lost and which decisions

17 were upheld on appeal.

18         50.   Other instances of Louis Vuitton’s vexatious litigation include losing a
19 lawsuit in a Dutch court against artist Nadia Plesner for her Darfurnica painting and
20 Simple Living t-shirts which parodied Louis Vuitton and were intended to raise

21 awareness of and money for the conflict in Darfur, and threatening to sue the

22 University of Pennsylvania for parodying Louis Vuitton’s trademark in a poster

23 advertising a symposium on trademark law.

24         51.   Louis Vuitton’s claims of infringement have affected MGA’s rights in
25 POOPSIE SLIME SURPRISE, the Pooey Name and Pooey Product vis-à-vis its

26 domestic and foreign customers, and specifically in California, and therefore affects
27 the interstate and foreign commerce of the United States.

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                                         COMPLAINT
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 1                               FIRST CAUSE OF ACTION
 2                                  Declaratory Judgment
 3                              (28 U.S.C. § 2201(a) and 2202)
 4         52.   Plaintiff repleads and incorporates by reference each and every allegation
 5 set forth in the preceding paragraphs as if fully set forth herein.

 6         53.   Louis Vuitton is the purported owner of the LV Marks.
 7         54.   Louis Vuitton has claimed that the Pooey Name and Pooey Product
 8 infringe upon or dilute LV’s purported rights in the LV Marks.

 9         55.   MGA denies that the Pooey Name or the Pooey Product infringe upon or
10 dilute the LV Marks.

11         56.   MGA further claims that the Pooey Name and the Pooey Product are
12 protected fair use under 15 U.S.C. § 1125(c)(3)(A), and/or are protected parody under

13 15 U.S.C. § 1125(c)(3)(A)(ii).

14         57.   An actual, present, and judiciable controversy has arisen between
15 Plaintiff and Defendants concerning their respective rights.

16         58.   Louis Vuitton’s claims of infringement or dilution have affected MGA’s
17 rights in POOPSIE SLIME SURPRISE, the Pooey Name and the Pooey Product vis-

18 à-vis its domestic and foreign customers, and therefore affects the interstate and

19 foreign commerce of the United States.
20         59.   Furthermore, upon information and belief, Louis Vuitton intends to make
21 similar claims against MGA in the United States based upon its LV Marks.

22         60.   MGA seeks a declaration of its rights pursuant to 28 U.S.C. §§ 2201(a)
23 and 2202 that the Pooey Name and Pooey Product are non-infringing of the LV

24 Marks, do not dilute the LV Marks, are protected fair use under 15 U.S.C. §

25 1125(c)(3)(A), and/or are protected parody under 15 U.S.C. § 1125(c)(3)(A)(ii).

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                                          COMPLAINT
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 1                                PRAYER FOR RELIEF
 2           WHEREFORE, MGA prays for judgment as follows:
 3           A. Pursuant to 28 U.S.C. §§ 2201(a) and 2202, a declaration that MGA’s use
 4              of the Pooey Name and Pooey Product do not infringe or dilute Louis
 5              Vuitton’s purported rights in the LV Marks, and do not cause a likelihood
 6              that consumers will be confused as to the source or sponsorship of MGA’s
 7              Pooey Name and Pooey Product;
 8           B. Pursuant to 28 U.S.C. §§ 2201(a) and 2202, a declaration that MGA’s use
 9              of the Pooey Name and Pooey Product are protected fair use under 15
10              U.S.C. § 1125(c)(3)(A);
11           C. Pursuant to 28 U.S.C. §§ 2201(a) and 2202, a declaration that MGA’s use
12              of the Pooey Name and Pooey Product are protected parody under 15
13              U.S.C. § 1125(c)(3)(A)(ii);
14           D. Pursuant to 28 U.S.C. §§ 2201(a) and 2202, a declaration that MGA may
15              continue to market and distribute its Pooey Product, and may continue to
16              use the Pooey Name in association with the Pooey Product;
17           E. For MGA’s reasonable attorneys’ fees;
18           F. For all costs of suit; and
19           G. For such other and further relief as the Court may deem necessary and
20              proper.
21

22   DATED: December 28, 2018
                                             MGA ENTERTAINMENT, INC.
23

24
                                             By: /s/ Benjamin C. Johnson
25
                                                 BENJAMIN C. JOHNSON
26                                               JOSEPH A. LOPEZ
                                                 Attorney for Plaintiff
27
                                                 MGA Entertainment, Inc.
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                                         COMPLAINT
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 1                             DEMAND FOR JURY TRIAL
 2        Plaintiff hereby demands a trial by jury on all issues so triable.
 3
     DATED: December 28, 2018               MGA ENTERTAINMENT, INC.
 4

 5
                                            By: /s/ Benjamin C. Johnson
 6                                              BENJAMIN C. JOHNSON
 7                                              JOSEPH A. LOPEZ
                                                Attorney for Plaintiff
 8                                              MGA Entertainment, Inc.
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